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United States District Court
Eastern District of Michigan
Southern Division

United States of America,

Plaintiff,
Hon. Shalina D. Kumar
Vv.
Case No. 21-cr-20184
D-1 Michael Fraley, Jr.,

Defendant.
/

 

Plea Agreement

The United States of America and the defendant, Michael Fraley
Jr., have reached a plea agreement under Federal Rule of Criminal
Procedure 11. The plea agreement’s terms are:

1. Count of Conviction

The defendant will waive his right to indictment and plead guilty
to Count 1 of the Information. Count 1 charges the defendant with

possessing with intent to distribute 5 grams or more of

methamphetamine under 21 U.S.C. §§ 841(a) & (b)(1)(B) (viii).

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2. Statutory Minimum and Maximum Penalties

The defendant understands that the count to which he is pleading

guilty carries the following minimum and maximum statutory

 

 

 

penalties:
Count 1 Maximum term of Up to 40 years in prison
imprisonment:
Mandatory minimum term of | 5 Years
imprisonment:
Fine: . $5,000,000.

 

Term of supervised release: | At least 4 Years

 

 

 

 

 

The defendant understands that Count 1 requires a mandatory
minimum sentence of 5 years’ imprisonment and that the Court may
not impose a sentence on that count below the mandatory minimum.
3. Agreement to Dismiss Remaining Charges

If the Court accepts this agreement and imposes sentence
consistent with its terms, the United States Attorney’s Office for the
Eastern District of Michigan will move to dismiss any remaining
charges (Count One and Count Three) in the First Superseding

Indictment against the defendant in this case.

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4. Elements of Count of Conviction

The elements of Count 1 are:

- First, the defendant possessed with intent to distribute 5
grams or more of actual methamphetamine, a Schedule II
controlled substance; and

- Second, the defendant did so knowingly or intentionally.

5. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient
factual basis for the defendant’s guilty plea:

On March 24, 2020, inside his house in Flint, within the Eastern
District of Michigan, Michael Fraley, Jr., knowingly possessed about 12
grams of actual methamphetamine that he intended on distributing to
others. At this time and place, police officers executed a search warrant
at Fraley’s house. As the officers entered his house, Fraley attempted to
flush the baggie of methamphetamine down the toilet. An officer seized
the baggie and later sent it to a DEA laboratory for chemical testing. A
DEA forensic chemist determined that the substance was 12.4 grams of

pure methamphetamine, a Schedule I controlled substance.

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Inside the house, officers seized drug-trafficking materials and
proceeds: two digital scales, one 100-gram calibration weight, baggies
and packaging materials, and $1,584 in cash. Fraley, who was then on
parole through the state of Michigan, admitted that he sold
methamphetamine to another person earlier this same day.

6. Advice of Rights

The defendant has read the Information, has discussed the
charges and possible defenses with his attorney, and understands the
crime charged. The defendant understands that, by pleading guilty, he
is waiving many important rights, including the following:

A. The right to plead not guilty and to persist in that plea;

B. The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary,

have the court appoint counsel—at trial;

D. The right to be presumed innocent and to require the

government to prove the defendant guilty beyond a reasonable

doubt at trial;

E. The right to confront and cross-examine adverse witnesses

at trial;

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F. The right to testify or not to testify at trial, whichever the
defendant chooses;

G. Ifthe defendant chooses not to testify at trial, the right to
have the jury informed that it may not treat that choice as
evidence of guilt;

H. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and

[. The right to compel the attendance of witnesses at trial.

7. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if he is not a United States citizen, his conviction
here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his conviction here may include, but are not limited to, adverse effects
on the defendant’s immigration status, naturalized citizenship, right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold

certain licenses or to be employed in certain fields. The defendant

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understands that no one, including the defendant’s attorney or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction might be. The defendant nevertheless affirms
that the defendant chooses to plead guilty regardless of any
immigration or other consequences from his conviction.

8. Safety Valve

The parties agree that the defendant is not eligible for the safety
valve in 18 U.S.C. § 3553(f).

9. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c){1)(B) that the defendant receive a two-level reduction
for acceptance of responsibility under USSG § 3E1.1(a) for his guideline
calculation on Count 1. Further, if the defendant’s offense level is 16 or
greater and the defendant is awarded the two-level reduction under

USSG § 3E1.1(a), the government recommends that the defendant

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receive an additional one-level reduction for acceptance of responsibility
under USSG § 3E1.1(b). If, however, the government learns that the
defendant has engaged in any conduct inconsistent with acceptance of
responsibility—including, but not limited to, making any false
statement to, or withholding information from, her probation officer;
obstructing justice in any way; denying her guilt on the offense to which
he is pleading guilty; committing additional crimes after pleading
guilty; or otherwise demonstrating a lack of acceptance of responsibility
as defined in USSG § 3E1.1—the government will be released from its
obligations under this paragraph, will be free to argue that the
defendant not receive any reduction for acceptance of responsibility
under USSG § 3E1.1, and will be free to argue that the defendant
receive an enhancement for obstruction of justice under USSG § 38C1.1.

C. Other Guideline Recommendations

The parties also reeommend under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the following guideline provisions apply to
the defendant’s guideline calculation on Count 1:

- Defendant was on parole at the time of the offense, USSG § 4A1.1(d);

* Defendant’s criminal history category is VI.

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D. Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the
guideline recommendations or factual stipulations in paragraphs 9.B, or
9.C. Neither party is otherwise restricted in what it may argue or
present to the Court as to the defendant’s guideline calculation.

E. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any
way, with the guideline range determined by the Court, even if that
guideline range does not incorporate the parties’ recommendations or
factual stipulations in paragraphs 9.B, 9.C, or 9.D. The government
likewise has no right to withdraw from this agreement if it disagrees
with the guideline range determined by the Court.

10. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and

must consider that range, any possible departures under the sentencing

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guidelines, and the sentencing factors listed in 18 U.S.C. § 35538(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the defendant’s sentence of imprisonment
on Count 1 not exceed the top of the defendant’s guideline range as
determined by the Court.
2. No Right to Withdraw
The government's recommendation in paragraph 10.B.1 is not
binding on the Court. The defendant understands that he will have no
right to withdraw from this agreement or withdraw his guilty plea if the
Court decides not to follow the government’s recommendation. The
government likewise has no right to withdraw from this agreement if
the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw

from the agreement.

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C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a four-year term of supervised

release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The
defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow
the parties’ recommendation. The defendant also understands that the
government’s recommendation concerning the length of the defendant’s
sentence of imprisonment, as described above in paragraph 10.B.1, will
not apply to or limit any term of imprisonment that results from any
later revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

E Special Assessment

The defendant understands that he will be required to pay a

special assessment of $100, due immediately upon sentencing.

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11. Appeal Waiver

The defendant waives any right he may have to appeal his
conviction on any grounds. If the defendant’s sentence of imprisonment
does not exceed the top of the guideline range determined by the Court,
the defendant also waives any right he may have to appeal his sentence

‘on any grounds.

12. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28
U.S.C. § 2255. The defendant also retains the right to pursue any relief
permitted under 18 U.S.C. § 3582(c), as long as the defendant properly
files a motion under that section. The defendant, however, waives any
other right he may have to challenge his conviction or sentence by
collateral review, including, but not limited to, any right he may have to
challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel or
prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,

or Federal Rule of Civil Procedure 59 or 60.

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13. Consequences of Withdrawal of Guilty Plea or Vacation of
Judgment

If the defendant is allowed to withdraw his guilty plea, or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the government reinstates any charges or files any additional charges
as permitted by this paragraph, the defendant waives his right to
challenge those charges on the ground that they were not filed ina
timely manner, including any claim that they were filed after the
limitations period expired.

14. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

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15. Parties to Plea Agreement

This agreement does not bind any government agency except the
United States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the
parties and supersedes any other promises, representations,
understandings, or agreements between the parties concerning the
subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made
by the government to the defendant or to the attorney for the defendant
at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement.
If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by

the United States or any other party.

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17. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in
the United States Attorney’s Office by 2:00 p.m. on September 20, 2022.

The government may withdraw from this agreement at any time before

the defendant pleads guilty.

Dawn N. Ison
United States Attorney

Blaine Long¢worth

Assistant United States
Attorney

 

By signing below, the defendant and his attorney agree that the
defendant has read or been read this entire document, has discussed it
with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions
answered by his attorney, and is satisfied with his attorney's advice and

representation.

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Henry Scharg

Attorney for Defendant CY Defendant

Dated: ‘\\z0\z022

 

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